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         EXHIBIT 13
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 1

 2                          UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS
 3

 4
       UNITED STATES OF AMERICA,               )
 5                        Plaintiff            )
                                               )
 6     vs.                                     ) No. 1-19-CR-10080
                                               )
 7     GAMAL ABDELAZIZ and JOHN                )
       WILSON,                                 )
 8                        Defendants.          )
                                               )
 9                                             )

10

11
                    BEFORE THE HONORABLE NATHANIEL M. GORTON
12                         UNITED STATES DISTRICT JUDGE
                                JURY TRIAL - DAY 6
13

14
                   John Joseph Moakley United States Courthouse
15                               Courtroom No. 4
                                One Courthouse Way
16                         Boston, Massachusetts 02210

17

18                               September 15, 2021
                                     9:15 a.m.
19

20

21
                           Kristin M. Kelley, RPR, CRR
22                         Kelly Mortellite, RMR, CRR
                             Official Court Reporter
23                 John Joseph Moakley United States Courthouse
                          One Courthouse Way, Room 3209
24                         Boston, Massachusetts 02210
                            E-mail: kmob929@gmail.com
25
                   Mechanical Steno - Computer-Aided Transcript
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                                                                                 59




 1     Q.      In response to Mr. Wilson's e-mail about water polo and

 2     swimming not being realistic for Johnny, do you see that

 3     Mr. Singer provides a list of schools?

 4     A.      Yes.

 5     Q.      And if we could then go up to the next e-mail on the

 6     chain, it's another e-mail from Mr. Wilson.          Could you read

 7     that, please.

 8     A.      "Johnny also was wondering if he did the side door at USC

 9     is it year round commitment?        For 2 years minimum?     Or one?

10     Will he be traveling with team or stay home for road meets et

11     cetera?

12                    What would a bench warmer position mean?       Would the

13     other kids know he was a bench warmer side door person?"

14     Q.      And how does Mr. Singer respond to Mr. Wilson's inquiry

15     about whether the other kids would know he was a bench warmer

16     side door person?

17     A.      "Travel is only if he is playing so no -- the commitment

18     is to be on the roster not attend all practices, but he will

19     have to attend drug tests and other mandatory functions for

20     one year then walk away/frankly after the first semester he can

21     move on ".

22     Q.      If we could go to the next e-mail up in the chain,

23     Mr. Wilson's response, could you read that for the record?

24     A.      "I would love him to actually be committed and give it his

25     best.    I don't want to taint his meeting with USC coach.         I
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                                                                          60




 1     know he was worried about his grades and practice time

 2     commitment and travel year round.

 3                  So it sounds like even if he practices all the time,

 4     et cetera, it will be known that he is a bench warming

 5     candidate?     Obviously his skill level may be below the other

 6     freshmen.     In your view, will he be so weak as to be a clear

 7     misfit at practice et cetera?"

 8     Q.    And how does Mr. Singer respond?

 9     A.    "They have 42 guys - 20 plus do not travel but practice.

10     He will be fine.     Bench warming on the four time in a row

11     national champion is not bad as a freshman".

12     Q.    And how does Mr. Wilson respond?

13     A.    "Thanks.    Just want to be sure he is not a leper".

14                  MR. FRANK:   Could we show the witness only Exhibit 63,

15     please.

16     Q.    Do you recognize this document?

17     A.    Yes.

18     Q.    What is it?

19     A.    An e-mail from Rick Singer to John Wilson, copying Leslie

20     Wilson.

21     Q.    What's the subject?

22     A.    "Photos of Johnny".

23     Q.    What is the date?

24     A.    June 3, 2013.

25                  MR. FRANK:   The government offers 63.
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                                                                          151




 1     March 26, 2013, is "If water polo and swimming are not

 2     realistic for Johnny, then what are the schools that he has a

 3     realistic shot at (without help) in the SoCal area, southwest,

 4     and east coast."

 5                     You see that?

 6     A.      Yes.

 7     Q.      You see there's a parenthetical, "a realistic shot

 8     (without help)".

 9     A.      Yup.

10     Q.      You understand that to be a reference to a side-door

11     donation?

12     A.      That's my interpretation of it, yes.

13     Q.      Okay.    And we hear Mr. Singer's response right above it,

14     "SMU, TCU" -- that's Texas Christian, to your understanding?

15     A.      Sounds correct.

16     Q.      "LMU, SDSU", San Diego, "UCSC, Cal Poly, SLO, CU",

17     Colorado University Bolder, Indiana, Oregon, Arizona, Rollins".

18                     And then he writes in response to the question

19     "harder" -- "University of Miami, Santa Clara, USC,

20     Northeastern, BU, George Washington, Wisconsin, Tulane, and

21     USC".

22     A.      Yes.

23     Q.      So Mr. Singer describes USC as a realistic but harder

24     school for Johnny, correct?

25     A.      That seems to be the case.     Yes.
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                                                                              182




 1     C E R T I F I C A T E

 2

 3

 4     UNITED STATES DISTRICT COURT )

 5     DISTRICT OF MASSACHUSETTS         )

 6

 7

 8                 We, Kristin M. Kelley and Kelly Mortellite, certify

 9     that the foregoing is a correct transcript from the record of

10     proceedings taken September 15, 2021 in the above-entitled

11     matter to the best of our skill and ability.

12

13

14           /s/ Kristin M. Kelley                       September 15, 2021

15           /s/ Kelly Mortellite                        September 15, 2021

16           Kristin M. Kelley, RPR, CRR                     Date
             Kelly Mortellite, RMR, CRR
17           Official Court Reporter

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